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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                               :
 DINO ANTOLINI,                                                :
                                              Plaintiff,       :    19 Civ. 5894 (LGS)
                                                               :
                            -against-                          :          ORDER
                                                               :
 75 & 81 ORCHARD ASSOCIATES LLC, et al., :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

         WHEREAS, on October 8, 2020, Defendants filed a pre-motion letter in anticipation of a

motion in limine to exclude expert testimony. Dkt. No. 94.

         WHEREAS, on October 15, 2020, Plaintiff filed a responsive letter. Dkt. No. 96.

         WHEREAS, on November 5, 2020, the parties participated in a case management

conference, during which Plaintiff agreed to dismiss certain claims, and proceed with his claim

pursuant to Title III of the Americans with Disabilities Act (see Dkt. No. 1, ¶¶ 31-48) in a bench

trial.

         WHEREAS, on March 13, 2020, the Court issued an Amended Order of Reference to a

Magistrate Judge, referring this action to Judge Freeman for general pre-trial and settlement

discussions (Dkt. No. 71). For the reasons stated during the case management conference, it is

hereby

         ORDERED that, by November 10, 2020, Plaintiff shall file any stipulation of dismissal

of the claims that would require a jury trial, including the New York State, New York City and

common law claims included within the Complaint (Dkt. No. 1). It is further

         ORDERED that, by November 19, 2020, Defendants shall provide Plaintiff with a

proposal regarding modifications to the premises located at 79 Orchard Street. It is further
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       ORDERED that, pursuant to the Amended Order of Reference to a Magistrate Judge at

Docket No. 71, all parties (in addition to counsel) shall appear before Judge Freeman for a

settlement conference.

       The Clerk of Court is respectfully directed to close Docket No. 94. An order setting a

trial date and deadlines for pre-trial submissions, including Defendants’ proposed motion in

limine, will issue separately.


Dated: November 5, 2020
       New York, New York




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